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                                                                       “Agreement”), should be construed according
Only the Westlaw citation is currently available.                      to the laws of the State of Michigan, and that
                                                                       all other issues should be determined according
 United States District Court, N.D. Texas, Dallas Divi-                to the laws of the State of Texas. In light of the
                          sion.                                        parties' agreement, their Joint Motion to Re-
  GENERAL MOTORS CORPORATION, Plaintiff,                               consider Plaintiff's Motion to Determine Ap-
                            v.                                         plicable Law will be denied as moot.
 AMERICAN ECOLOGY ENVIRONMENTAL SER-
          VICES CORP., et al., Defendants.                             FN2. Once a motion is filed, the Local Civil
                                                                       Rules permit a response by the nonmovant and
               No. Civ.A. 399CV2625L.                                  a reply by the movant. See Local Civil Rule
                    Aug. 30, 2001.                                     7.1. Thus, in motion practice for this district
                                                                       the movant is normally entitled to file the last
        MEMORANDUM OPINION AND ORDER
                                                                       pleading, as it should be. Surreplies are highly
LINDSAY, J.
                                                                       disfavored by the court because they are usu-
     *1 Before the court are Plaintiff's Motion for Sum-
                                                                       ally an attempt by one side to get the last word
mary Judgment, filed October 20, 2000; Defendants'
                                                                       on an issue, rather than a means to bring new
Counter-Motion for Summary Judgment, filed Decem-
                                                                       or supplemental authority to the attention of the
ber 11, 2000; Defendants' Unopposed Motion for Leave
                                                                       court. Accordingly, the court will permit sur-
to Have the Court Consider Defendants' Reply to
                                                                       replies only where truly exceptional or ex-
Plaintiffs' [sic] Response to Defendants' Counter-Mo-
                                                                       traordinary circumstances exist. In this case,
tion for Summary Judgment as Defendants' Sur-Reply
                                                                       while Defendants do not seek leave to file a
to General Motors' Motion for Summary Judgment
                                                                       surreply, they request that the reply brief filed
(“Defendants' Motion for Leave), filed March 16, 2001;
                                                                       in connection with their summary judgment
and the parties' Joint Motion to Reconsider Plaintiff's
                                                                       motion also be considered in ruling on
Motion to Determine Applicable Law, filed June 25,
      FN1                                                              Plaintiff's summary judgment motion. When
2001.       After careful consideration of the motions,
                                                                       parties submit cross motions for summary
responses, replies, briefs, summary judgment evidence,
                                                                       judgment which largely address the same is-
and the applicable authority, the court denies as moot
                                FN2                                    sues, judicial economy is served by considering
Defendants' Motion for Leave,         denies as moot the
                                                                       the arguments from both motions (and related
parties' Joint Motion to Reconsider Plaintiff's Motion to
                                                                       responses and replies) together. After examin-
Determine Applicable Law, grants in part and denies in
                                                                       ing the cross motions for summary judgment,
part Plaintiff's Motion for Summary Judgment, and
                                                                       the court concludes that there is a substantial
denies Defendant's Counter-Motion for Summary Judg-
                                                                       overlap of issues, and therefore will consider
ment.
                                                                       the cross motions jointly. Defendants' request
        FN1. The court is in receipt of a letter dated Ju-             will therefore be denied as moot.
        ly 19, 2001 from Mr. R. Brian Craft, counsel
                                                               I. Factual and Procedural Background
        for Defendants, which the clerk is hereby direc-
                                                                    This is a breach of contract case. Plaintiff General
        ted to file along with this order. In that letter,
                                                               Motors Corporation (“GM”) is a Michigan corporation
        which was copied to counsel for Plaintiff, Mr.
                                                               with its principal place of business in Detroit, Michigan.
        Craft states that the parties have agreed that the
                                                               Defendant American Ecology Environmental Service
        contract at issue, Corporate Purchase Agree-
                                                               Corporation (“AEESC”), formally known as Gibraltar
        ment No. 3837, dated September 20, 1989 (the
                                                               Chemical Resources, Inc. (“Gibraltar”), is a Texas cor-




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poration, and wholly owned subsidiary of Defendant               mands and expenses (including costs of defense, set-
American Ecology Corporation, with its principal place           tlement, and reasonable attorney's fees) of whatever
of business in Texas. American Ecology Corporation               type or nature resulting from failure of GM ... to com-
(“AEC”) is a Delaware Corporation with its principal             ply with this [A]greement or any federal, state or loc-
place of business in Idaho. Defendant Mobley Environ-            al law, statute, regulation, rule, ordinance, or govern-
mental Services, Inc. is a Delaware Corporation with its         ment directive which may directly or indirectly regu-
                                      FN3
principal place of business in Texas.     The following          late or affect obligations of GM hereunder, or result-
facts are undisputed.                                            ing from damage to, or destruction of, any property of
                                                                 [Gibraltar] and Facilities or injury (including death)
        FN3. Defendant Mobley has since been dis-                to any person arising out of or attributable to any neg-
        missed from this lawsuit. See court's order              ligent act or omission by GM ... in performance of
        dated July 11, 2001. The court will refer to             this Agreement, except to the extent such liability,
        AEESC and AEC collectively as “American                  damage, fine or expense is the result of [Gibraltar] or
        Ecology” or “Defendants,” unless otherwise               Facility negligent acts or omissions.
        stated.
                                                                    The Agreement also required Gibraltar to maintain
     Between January 1982 and March 1997, American             certain minimum insurance, including pollution legal li-
Ecology owned and operated a hazardous waste man-              ability coverage, and to name GM as an “additional in-
agement facility located in Winona, Texas. In Septem-                                              FN4
                                                               sured” under such insurance policy.
ber 1989, GM hired Gibraltar, AEESC's predecessor, as
an independent contractor to perform services for GM                   FN4. On September 29, 1995, AEC informed
consisting of the transportation and disposal of hazard-               GM that it had acquired ownership of Gibral-
ous and nonhazardous waste and byproducts. The                         tar, and that it had changed Gibraltar's name to
Agreement between GM and Gibraltar, included, inter                    American Ecology Environmental Services
alia, mutual indemnity provisions. Under Section 5.1 of                Corporation. On November 27, 1995, the
the Agreement, Gibraltar agreed to indemnify, defend                   Agreement was formally amended to reflect
and hold GM harmless from and against                                  this acquisition. There is no dispute that, as a
                                                                       result of this acquisition, AEC assumed Gibral-
  any and all liabilities, damages ... costs, claims, de-              tar's contractual obligations under the Agree-
  mands and expenses (including costs of defense, set-                 ment. In this opinion, the court makes no dis-
  tlement, and reasonable attorney's fees) of whatever                 tinction between AEC, AEESC and Gibraltar
  type or nature resulting from failure of [Gibraltar] ...             with respect to contractual obligations under
  to comply with this Agreement or any federal, state or               the Agreement. As such, references to Americ-
  local law, statute, regulation, rule, ordinance, or gov-             an Ecology are intended to encompass Gibral-
  ernment directive which may directly or indirectly                   tar and all acts attributable to that entity.
  regulate or affect obligations of [Gibraltar] hereunder,
  or resulting from damage to, or destruction of, any               On August 30, 1996, GM was joined in a lawsuit
  property ... or injury (including death) to any person       styled Virgie Adams and Charles Adams v. American
  arising out of or attributable to any act or omission by     Ecology Environmental Services Corporation, Cause
                                                                                               th
  [Gibraltar] in performance of this Agreement, except         No. 236-165224-96, in the 236 Judicial District Court
  to the extent such liability, damage, fine or expense is     in Tarrant County, Texas. This toxic tort action was
  the result of negligent GM acts or omissions.                brought by several hundred plaintiffs against numerous
                                                               defendants, including the parties in the instant lawsuit.
    *2 Under Section 5.2, GM agreed to indemnity, de-          In Adams, the plaintiffs alleged, inter alia, that Americ-
fend and hold Gibraltar harmless from and against              an Ecology improperly managed and disposed of haz-
  any and all liabilities, damages ..., costs, claims, de-     ardous and toxic substances at the Winona facility in vi-




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olation of Texas health, safety and environmental re-                  at 1 n.1. Thus, GM's summary judgment is in-
quirements and standards. Specifically, the plaintiffs al-             tended to resolve all claims in the litigation.
leged that American Ecology was responsible for a                      American Ecology, on the other hand, concedes
series of spills, releases, fires, explosions and emissions            that it does not move for summary disposition
at the Winona facility, that such discharges resulted in               of GM's claims for common law indemnity or
the release of hazardous and toxic substances into the                 attorneys' fees. Therefore, although not styled
surrounding environment, and that the plaintiffs                       as such, American Ecology's motion is in effect
suffered bodily injury and property damage as a result                 a motion for partial summary judgment. In any
of American Ecology's negligent operation of the                       event, the court resolves the parties' respective
Winona facility. In addition, the plaintiffs contended                 motions based on GM's breach of contract
that GM, as one of American Ecology's customers, was                   claim, and therefore GM's claim for common
both directly liable based on its own acts of negligence               law indemnity will be denied as moot. Finally,
and vicariously liable based on American Ecology's                     because the content of the parties' submissions
negligent transportation and disposal of GM's hazardous                overlaps, the court will consider the arguments
waste and byproducts.                                                  in Plaintiff's Motion for Summary Judgment
                                                                       and Defendants' Counter-Motion for Summary
    On May 3, 1999, GM demanded that American                          Judgment jointly.
Ecology provide it (GM) full and complete indemnity,
including a defense in the Adams suit, in accordance           II. Plaintiff's Motion and Defendants' Counter-Motion
with the terms of the Agreement. On June 29, 1999,             for Summary Judgment
American Ecology denied GM's request for defense and
indemnity. Thereafter, GM sent American Ecology two            A. Summary Judgment Standard
more letters, on June 30, 1999 and July 12, 1999, re-
                                                                    Summary judgment shall be rendered when the
questing that it defend and indemnify GM in Adams
                                                               pleadings, depositions, answers to interrogatories, and
pursuant to the terms of the Agreement. American Eco-
                                                               admissions on file, together with the affidavits, if any,
logy did not respond to those letters. Subsequently, on
                                                               show that there is no genuine issue as to any material
July 28, 1999, GM settled the Adams case in the amount
                                                               fact and that the moving party is entitled to judgment as
of $1,500,000.
                                                               a matter of law. Fed.R.Civ.P. 56(c); Celotex Corp. v.
     *3 On November 18, 1999, GM filed the instant             Catrett, 477 U.S. 317, 323-25 (1986); Ragas v. Ten-
                                                                                                                       th
lawsuit against American Ecology, asserting causes of          nessee Gas Pipeline Co., 136 F.3d 455, 458 (5
action for breach of contract, contribution, indemnity,        Cir.1998). A dispute regarding a material fact is
and attorney's fees. GM now moves for summary judg-            “genuine” if the evidence is such that a reasonable jury
ment on its claim for breach of contract, and American         could return a verdict in favor of the nonmoving party.
Ecology has filed a cross-motion for summary judgment          Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
                    FN5                                        (1986). When ruling on a motion for summary judg-
on that same claim.
                                                               ment, the court is required to view all inferences drawn
         FN5. GM no longer desires to pursue its claim         from the factual record in the light most favorable to the
         for common law contribution against Defend-           nonmoving party. Matsushita Elec. Indus. Co. v. Zenith
         ants. See Br. in Supp. of GM's Resp. to Defs.'        Radio, 475 U.S. 574, 587 (1986); Ragas, 136 F.3d at
         Counter-Mot. for Summ. J. at 15 n.4. The court        458.
         will therefore consider the claim abandoned.
         Regarding its remaining claim for common law              Once the moving party has made an initial showing
         indemnity, GM states that this claim is cumu-         that there is no evidence to support the nonmoving
         lative, and made in the alternative to its breach     party's case, the party opposing the motion must come
         of contract claim. See GM's Mot. for Summ. J.         forward with competent summary judgment evidence of




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                                                                       th
the existence of a genuine fact issue. Matsushita, 475         719 (5     Cir.1995)(citing Texas law). The court need
U.S. at 586. Mere conclusory allegations are not com-          only address the third element, as it is the only one in
petent summary judgment evidence, and thus are insuf-          dispute.
ficient to defeat a motion for summary judgment. Eason
                                    th                              GM contends that American Ecology breached the
v. Thaler, 73 F.3d 1322, 1325 (5       Cir.1996). Unsub-
stantiated assertions, improbable inferences, and unsup-       Agreement in three respects: 1) by failing to defend
ported speculation are not competent summary judg-             claims asserted against it (GM) in the Adams litigation;
ment evidence. See Forsyth v. Barr, 19 F.3d 1527, 1533         2) by failing to indemnify costs and expenses incurred
   th                                                          by it (GM) in defending the Adams litigation; and 3) by
(5 Cir.), cert. denied, 513 U.S. 871 (1994). The party
opposing summary judgment is required to identify spe-         failing to name it (GM) as an additional insured on its
cific evidence in the record and to articulate the precise     insurance policies. American Ecology responds that it
manner in which that evidence supports his claim. Ra-          had no duty to indemnify or defend GM in the underly-
gas, 136 F.3d at 458. Rule 56 does not impose a duty on        ing lawsuit because the plaintiffs in Adams alleged in-
the court to “sift through the record in search of evid-       dependent acts of negligence against GM, which are ex-
ence” to support the nonmovant's opposition to the mo-         cluded under the Agreement. American Ecology also
tion for summary judgment. Id., see also Skotak v. Ten-        contends that it complied with its contractual obligation
                                                        th     to secure insurance coverage. Therefore, American Eco-
neco Resins, Inc., 953 F.2d 909, 915-16 & n.7 (5
Cir.), cert. denied, 506 U.S. 832 (1992). “Only disputes       logy maintains that it is entitled to judgment as a matter
over facts that might affect the outcome of the suit un-       of law on Plaintiff's claim. Before determining whether
der the governing laws will properly preclude the entry        American Ecology breached any alleged duties, the
of summary judgment.” Anderson, 477 U.S. at 248. Dis-          court must first ascertain the scope of the Agreement's
puted fact issues which are “irrelevant and unnecessary”       indemnification clause.
will not be considered by a court in ruling on a sum-
                                                               1. Construction of the Agreement
mary judgment motion. Id. If the nonmoving party fails
                                                                    Under Michigan law, where the language of a con-
to make a showing sufficient to establish the existence
                                                               tract is unambiguous, the court construes it as a matter
of an element essential to its case and on which it will
                                                               of law. See Taggart v. United States, 880 F.2d 867, 870
bear the burden of proof at trial, summary judgment               th
                                                               (6 Cir.1989). While Michigan courts construe indem-
must be granted. Celotex, 477 U.S. at 322-23.
                                                               nity contracts most strictly against the party who is the
B. Analysis                                                    indemnitee (in this case, GM), MSI Constr. Managers,
     *4 As noted above, GM has moved for summary               Inc. v. Corvo Iron Works, Inc., 527 N.W.2d 79, 81
judgment on its breach of contract claim. If the movant        (Mich.Ct.App.1995), they should also be construed to
bears the burden of proof on an issue, it must establish       effectuate the intent of the parties. See id.; Sherman v.
beyond peradventure all of the essential elements of the       DeMaria Bldg. Co., Inc., 513 N.W.2d 187, 190
claim to warrant judgment in its favor. Fontenot v.. Up-       (Mich.Ct.App.1994). In ascertaining the intention of the
                                   th                          parties, the court considers the language used in the
john Co., 780 F.2d 1190, 1194 (5 Cir.1986). To pre-
vail on its claim, GM must establish that 1) a contractu-      contract as well as the situation of the parties and cir-
al indemnity agreement existed between GM and Amer-            cumstances surrounding the contract. Title Guaranty &
ican Ecology; 2) the agreement obligated American              Surety Co. v. Roehm, 184 N.W. 414, 416 (Mich.1921);
Ecology to indemnify GM in the event claims covered            Corvo Iron Works, Inc., 527 N.W.2d at 81; Sherman,
by the Agreement were made against it; 3) claims               513 N.W.2d at 190. Language in a contract that is clear
covered by the Agreement were made against GM; 4)              and unambiguous must be construed according to the
all conditions precedent for recovery had occurred, been       plain and ordinary meaning of its terms. Equitable Life
performed, waived, or excused; and 5) GM was dam-              Assurance Soc'y of U.S. v. Poe, 143 F.3d 1013, 1016 (6
                                                               th
aged. Transamerica Ins. Co. v. Avenell, 66 F.3d 715,              Cir.1998); Royce v. Citizens Ins. Co., 557 N.W.2d




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144, 147 (Mich.Ct.App.1996). Finally, the court should         in the coverage. Indeed, when the exclusionary phrase is
examine an indemnity clause in such a way as to give a         read in conjunction with the other provisions of the
reasonable meaning to all of its provisions. Corvo Iron        Agreement, it is clear that the parties intended that GM
Works, 527 N.W.2d at 81.                                       be indemnified against “any and all” liability caused
                                                               by, derived from, or based on, Gibraltar's negligent or
     *5 There is no real dispute that the Agreement, by        intentional acts or omissions. There can be no broader
its express terms, envisioned that: 1) American Ecology        classification than the word “all,” which “[i]n ‘its ordin-
would indemnify, defend and hold GM harmless against           ary and natural meaning ... leaves no room for excep-
those claims resulting solely from American Ecology's          tions.” ’ Pritts v. J.I. Case Co., 310 N.W.2d 261, 265
acts or omissions; and 2) American Ecology would not           (Mich.Ct.App.1981) (citation omitted). Thus, while
indemnify, defend and hold GM harmless against those           American Ecology would have no duty to indemnify or
claims resulting from GM's acts or omissions. The dis-         defend GM for GM's acts of negligence, it would not be
pute relates to “mixed claims,” that is, those which           absolved of its duty to indemnify and defend against
charge GM with both direct liability (for its own acts         claims based on Gibraltar's negligent acts or omissions.
and omissions) and vicarious liability (for Gibraltar's        Based on the language of both indemnity provisions, the
acts or omissions). American Ecology contends that the         reasonable interpretation of the Agreement is that the
exclusionary phrase in section 5.1 of the Agreement            parties intended to assume liability only for their own
(beginning with the words “except to the extent ...” and       negligent acts or omissions, and not the negligent acts
ending with the words “negligent GM acts or omis-              or omissions of the other. Since under a theory of vi-
sions.”) quoted above, should be interpreted to limit          carious liability one may be held liable, based on the re-
GM's right to indemnity to claims based entirely on acts       lationship between the parties, for the negligent acts of
of Gibraltar. In other words, American Ecology asserts         another, and because the Agreement expressly states
that it has no duty to defend and indemnify a “mixed           that the parties are not to be held liable for the negligent
claim.” American Ecology, however, cites no authority          acts of the other, the court concludes that the parties in-
to support its contention that a “mixed” pleading (that        tended the indemnity clause to protect against claims
is, a pleading that contains some causes of action that                                 FN6
                                                               for vicarious liability.
are covered by an indemnity provision and others which
are not) voids an indemnitor's duty to indemnify and                    FN6. American Ecology contends that the
duty to defend under the contract. The court is unable to               “express negligence rule” applies in this case.
conclude that the language in the Agreement's indemni-                  It does not. See Sherman, 513 N.W.2d at 190
fication clause is as limiting, or as exclusive, as Amer-               (“Michigan courts have discarded the addition-
ican Ecology suggests.                                                  al rule of construction that indemnity contracts
                                                                        will not be construed to provide indemnifica-
      The indemnification clause clearly states that                    tion for the indemnitee's own negligence unless
Gibraltar agrees to “hold GM ... harmless from and                      such intent is expressed clearly and unequivoc-
against any and all liabilities, damages, costs, claims,                ally in the contract.”). In any event, GM does
demands and expenses ... of whatever type or nature                     not seek a defense or indemnification for its
resulting from the failure of [Gibraltar] ... to comply                 own negligent acts or omissions. As the court
with this Agreement ..., or resulting from ... any injury               has already determined that the Agreement
... to any person arising out of or attributable to any act             does not cover GM's negligent acts or omis-
or omission by [Gibraltar].” (emphasis added). Since                    sions, American Ecology's argument concern-
the Agreement expressly excludes from coverage claims                   ing the applicability of the express negligence
resulting from GM's negligent acts or omissions, the                    rule is a red herring designed to confuse the
reasonable interpretation of the contract is that the                   nature of the controversy.
parties intended for all other claims to be included with-




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     *6 The court finds that the Agreement's indemnity         should apply to indemnity contracts, the court neverthe-
provision is not reasonably and fairly susceptible to          less finds the case instructive in determining this issue.
multiple meanings or understandings, and that the reas-        In Turner, a general contractor and subcontractor
onable construction of the Agreement is the parties in-        entered into a written contract, which included a boiler-
tended for American Ecology to indemnify and defend            plate indemnification clause. The indemnification
GM against vicarious liability resulting from American         clause provided that the subcontractor would defend
Ecology's negligent acts or omissions. Accordingly,            and indemnify the general contractor against damages
there is no genuine issue of material fact on the con-         or injury to any person resulting from, arising out of or
                                            FN7
struction of the indemnification provision.                    occurring in connection with the subcontractor's install-
                                                               ation of plumbing, HVAC and subsurface drainage at a
         FN7. In Adams, the plaintiffs asserted claims         specific work site. The general contractor brought a
         against GM for negligent entrustment and neg-         lawsuit against the subcontractor for, inter alia, breach
         ligent hiring. GM contends that these claims          of contract based on the subcontractor's alleged failure
         are derivative of Gibraltar's negligent and/or        to defend the general contractor in an underlying law-
         intentional acts or omissions, and that under         suit brought by a third party against the general con-
         Michigan law, they are treated the same as            tractor. The issue before the court was whether the facts
         claims for vicarious liability when determining       in the underlying case fell within the terms of the con-
         an indemnitor's duty to defend under an indem-        tract such as to engage the subcontractor's duty to de-
         nity agreement. As the court has determined           fend and indemnify the general contractor. In consider-
         that American Ecology had a duty to defend            ing whether the subcontractor had a duty to defend and
         GM against vicarious liability claims, it does        indemnify, the court relied on general principles of in-
         not determine whether negligent entrustment           surance law. American Ecology, however, contends that
         and negligent hiring are derivative claims, or        Turner is inapposite, as application of general insurance
         whether such claims triggered American Eco-           principles here would conflict with the Michigan canon
         logy's duty to defend.                                of construction that indemnity contracts are to be con-
                                                               strued most strictly against the indemnitee. American
2. American Ecology's Obligations under the Agree-
                                                               Ecology contends that the court should instead determ-
ment
                                                               ine whether any obligation arose under the Agreement
a. The Duty to Defend                                          based solely on the language of the Agreement. The
                                                               court disagrees.
     The court next addresses whether American Eco-
logy had a duty to defend GM against claims asserted in             *7 Just as an insurance company's duty to defend
Adams. The Agreement sets forth the conditions under           arises from the language of an insurance contract,
which American Ecology's duty to defend will arise. As         Stockdale v. Jamison, 330 N.W .2d 389, 392
noted above, American Ecology had a duty to defend             (Mich.1982), American Ecology's duty to defend in this
GM against any and all claims resulting from, inter alia,      case arises from the language in the Agreement. In addi-
“injury ... to any person arising out of or attributable to    tion, an insurer's duty to defend an insured is measured
any act or omission by [Gibraltar].” In determining the        by the allegations in a plaintiff's pleadings. Guerdon In-
duty to defend, GM contends that general principles of         dus., Inc. v. Fidelity & Casualty Co. of New York, 123
insurance law should apply, and relies on Turner Con-          N.W.2d 143, 147 (Mich.1963). The court sees no reason
str. Co. v. Robert Carter Corp., 162 F.3d 1162                 why these same principles should not apply in the con-
                                              th               text of an indemnitor's duty to defend under an indem-
(Table)(No. 97-1394, 1998 WL 553009 (6           Cir. Aug.
17, 1998)), to support this contention. Although Turner        nity contract.
was not a summary judgment case, and did not specific-
                                                                   As previously noted, the court determines whether
ally address whether general principles of insurance law




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a duty to defend arose based on the factual allegations        duct regarding its waste and hazardous substances and
asserted in the underlying pleadings. See United States        any mixture or blend of that waste or hazardous sub-
Fidelity & Guaranty Co. v. Citizens Ins. Co. of Am., 506       stance with another generator's waste or hazardous sub-
N.W.2d 527, 529 (Mich.Ct.App.1993). The duty to de-            stances, and liable for all of Gibraltar's remaining con-
fend, however, cannot be limited by the precise lan-           duct. Id. at 387. The petition also alleged that each Gen-
guage of the pleadings. Detroit Edison Co. v. Michigan         erator Defendant failed to properly supervise or manage
Mut.     Ins.    Co.,    301      N.W.2d      832,     835     Gibraltar in handling and management of its hazardous
(Mich.Ct.App.1980). Rather, the court must look at the         waste which, according to the plaintiffs, rendered the
cause of the alleged injury to ascertain whether it is         Generator Defendants liable for damages caused by
within the scope of the contract provisions, and scrutin-      American Ecology's negligence and other fault under
ize the substance rather than the form of the allegations      Texas law. Id. at 391. As noted above, the indemnity
in the complaint. United States Federal & Guaranty,            clause provides that Gibraltar would defend and hold
506 N.W.2d at 529. Typically, an insurer has a duty to         GM harmless against any and all liabilities resulting
defend, despite theories of liability asserted against any     from injury to any person arising out of any acts or
insured which are not covered under the policy, if there       omissions of Gibraltar. These allegations of vicarious li-
are any theories of recovery that fall within the provi-       ability based on Gibraltar's negligence fall within the
sions of the insurance policy. Detroit Edison Co., 301         terms of the indemnity clause, and therefore triggered
N.W.2d at 835. Thus, “[i]f the allegations by a third          American Ecology's duty to defend GM under the
party against one owed duties of defense and indemnity         Agreement.
are ‘even arguably’ applicable, the promisor must
provide a defense.” American Bumper and Mfg. Co. v.                 *8 American Ecology, however, contends that some
Hartford Fire Ins. Co., 550 N.W.2d 475, 481                    claims asserted against GM in Adams were for direct
(Mich.1996).                                                   negligence or concurrent negligence, and that under the
                                                               Agreement it simply is not obligated to defend or in-
     Under Michigan law, the duty to defend arises as          demnify claims arising out of any “negligent acts or
soon as the pleadings or other facts known by the in-          omissions of GM.” Contrary to American Ecology's as-
surer bring the action within the policy coverage. See         sertion, the allegations in the Third Amended Petition
Celina Mut. Ins. Co. v. Citizens Ins. Co., 349 N.W.2d          do not state claims under a theory of concurrent negli-
547, 551 (Mich.Ct.App.1984). Here, there is no dispute         gence. Concurrent negligence results where the acts of
that the Third Amended Petition in the Adams litigation        two independent parties have concurred to produce the
is the operative pleading. Having read the factual alleg-      injuries for which they are responsible. Robert R. Walk-
ations asserted in the Third Amended Petition, the court       er, Inc. v. Burgdorf, 244 S.W.2d 506, 509 (Tex.1952).
concludes that they are sufficient to trigger American         Based on the facts alleged in the Third Amended Peti-
Ecology's duty to defend under the Agreement. The pe-          tion, the Adams' plaintiffs were, in addition to alleging
tition alleged that Gibraltar failed to manage highly tox-     any direct acts of negligence, alleging that GM was vi-
ic, hazardous wastes, substances and materials in a man-       cariously liable for American Ecology's acts or omis-
ner that complied with Texas health, safety and environ-       sions. In any event, the court has already construed the
mental statutes, regulations, rules, policies and common       Agreement as not covering GM's direct acts of negli-
law, and that the plaintiffs suffered damages as a prox-       gence, and concurrent negligence is not an issue, as GM
imate result. GM's App. to Summ. J. Mot. at 271. The           does not contend that it was owed a defense and indem-
petition further alleged that the “Generator Defendants,”      nity based on its concurrent negligence.
including GM, were vicariously liable for Gibraltar's
negligence under theories of agency and respondeat su-             There is no dispute that American Ecology did not
perior. Id. at 384. The petition also alleged that the         provide GM with a defense. Because Gibraltar failed to
Generator Defendants were liable for Gibraltar's con-          perform its obligation to defend GM as required under




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the Agreement, it breached the contract. There is no           and, may also recover the amount of damages [it] paid
genuine issue of material fact on this issue, and GM is        or promised to pay in settlement of the cause of action
entitled to judgment as a matter of law on its claim for       in the former suit upon sufficient proof of facts estab-
breach of contract based on American Ecology's failure         lishing that the settlement was made in good faith, upon
to defend it in the Adams litigation.                          a reasonable basis and for a reasonable amount. Texas
                                                               United Ins. Co. v. Burt Ford Enterprises, Inc., 703
     GM contends that it has incurred damages as a res-        S.W.2d 828, 835 (Tex.App.-Tyler 1986, no writ). GM
ult of American Ecology's failure to defend it in the          argues that where an indemnitor denies a defense, and
Adams litigation. Specifically, GM contends that it in-        the indemnitee settles the case, the indemnitor waives
curred the following damages: $1 .5 million (the settle-       its right to challenge the reasonableness of the settle-
ment amount paid in Adams ), and $505,800.45 in attor-         ment. American Ecology does not address this argu-
neys' fees and expenses, including guardian ad litem           ment. Since American Ecology has failed to respond to
fees, expert witness fees, joint counsel fees and fees in-     this issue or present any evidence, the court is permitted
curred in connection with a separate declaratory judg-         to accept GM's evidence that the settlement was made
ment action brought against it by Zurich American In-          in good faith upon a reasonable basis and for a reason-
                                 FN8
surance Company (“Zurich”).             In addition, GM        able amount as undisputed. See Tutton v. Garland In-
seeks to recover costs incurred as a result of bringing        dep. Sch. Dist., 733 F.Supp. 1113, 1117 (N.D.Tex.1990)
the instant lawsuit to recover for each of American Eco-       . Moreover, American Ecology's failure to respond to
logy's alleged breaches, including its attorneys' fees.        this argument means that it has not designated specific
                                                               facts showing that there is a genuine issue for trial. Be-
        FN8. In June 1999, GM requested that Zurich
                                                               cause American Ecology has failed to adduce evidence
        defend it in the Adams litigation based on its
                                                               that would permit a reasonable juror to conclude that
        understanding that it was an additional insured
                                                               the settlement was unreasonable, or made in bad faith
        under certain insurance policies issued to
                                                               on an unreasonable basis, the court finds that GM's set-
        American Ecology by Zurich. On December
                                                               tlement of the Adams litigation was reasonable as a mat-
        10, 1999, Zurich brought suit against GM for
                                                               ter of law.
        declaratory relief, contending, inter alia, that
        GM was not an additional insured under those                *9 The court, however, cannot conclude that GM is
        policies, and therefore not entitled to coverage.      entitled to recover the entire amount of settlement as a
        GM asserts that it was ultimately not afforded         matter of law. Under Michigan law, “[a] contract of in-
        coverage under American Ecology's insurance            demnity should be construed so as to cover all losses,
        policy, GM's Br. in Supp. of Mot. for Summ. J.         damages, or liabilities to which it reasonably appears to
        at 6-7, that it incurred costs and expenses in         have been the intention of the parties that it should ap-
        having to defend the declaratory judgment ac-          ply, but not to extend to losses, damages, or liabilities
        tion, and that it is entitled to recover those         which are neither expressly within its terms nor of such
        costs and expenses based on American Eco-              character that it can reasonably by inferred that they
        logy's alleged failure to name it as an addition-      were intended to be within the contract.” Roehm, 184
        al insured.                                            N.W. at 416. The summary judgment evidence estab-
                                                               lishes that GM settled all claims asserted against it in
    In Texas, if a liability insurer wrongfully refuses to
                                                               the Adams case, including claims for vicarious liability.
defend a suit filed against its insured, and the insured
                                                               Because GM's settlement encompassed both claims
compromises and settles the cause of action asserted
                                                               covered under the Agreement (vicarious liability), as
therein without the sanction of a judgment, then the in-
                                                               well as claims not covered under the Agreement (direct
sured may, in a separate suit instituted against the in-
                                                               negligence), fact issues exist regarding which part of the
surer for that purpose, recover judgment for the total ex-
                                                               settlement was for claims asserted against GM for its
penses of [its] defense and settlement of the former suit,




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own negligence and which part of the settlement was            to whether GM is entitled to recover the entire amount
for claims asserting vicarious liability. Because there        of damages alleged its Complaint. Thus, to the extent
are genuine issues of material fact regarding allocation       GM's summary judgment motion seeks relief for the en-
of the settlement amount, GM has failed to establish as        tire amount of damages alleged in its Complaint, the
a matter of law that it is entitled to recover the entire      motion is denied.
$1.5 million incurred in settling the Adams case.
                                                                    *10 With respect to GM's claim for attorney's fees
     With respect to GM's alleged costs and expenses in-       incurred in the instant case, the court typically resolves
curred in defending Adams, American Ecology contends           this issue posttrial by motion under Fed.R.Civ.P. 56(d).
that GM should not be allowed to recover pre-tender de-        Therefore, the court declines to determine this issue at
fense costs. It also contends that because GM has failed       this stage of the litigation.
to distinguish and segregate costs incurred before it re-
quested a defense in Adams and costs incurred there-           b. The Duty to Indemnify
after, it has failed to establish a right to summary judg-          The court next consider's GM's contention that
ment for any portion of its costs. GM responds that the        American Ecology breached the Agreement by failing
court may award its attorney's fees incurred after its         to indemnify it for costs and expenses incurred in con-
tender as a matter of law, as this amount is easily se-        nection with the Adams litigation. The court concludes
gregated by reference to the record in this case. The          that because American Ecology had a duty to defend
court agrees.                                                  GM against vicarious liability claims, it also had a duty
                                                               to indemnify GM for the costs and expenses incurred in
     As previously stated, the duty to defend arises when      settling those claims.
a suit is brought against the insured with allegations that
potentially obligate the insurer to indemnify. In this              American Ecology contends that by settling all pos-
case, the Third Amended Petition is the operative plead-       sible claims, including claims against it for punitive
ing, as it is the only one that asserts allegations which      damages and gross negligence, the indemnity provision
potentially engages American Ecology's duty to indem-          is rendered unenforceable. American Ecology, however,
nify. The record does not indicate the date on which the       cites no authority and points to no provision in the con-
Third Amended Petition was filed; however, the Certi-          tract to support this contention. In any event, settlement
ficate of Service attached thereto indicates that it was       of GM's negligence claims is irrelevant, as the court has
served on all parties to the litigation on or about June       already determined that such claims are not covered un-
18, 1999. The court therefore finds that GM would be           der the Agreement.
entitled to recover defense costs incurred in the Adams
                                                                    American Ecology next contends that because GM
litigation after June 18, 1999. The court, however, is un-
                                                               waited more than two years before requesting a defense
able to conclude that GM would be entitled to recover
                                                               in Adams, it has waived its right to recover any portion
all costs incurred after this date as a matter of law.
                                                               of the settlement paid in that litigation. Again, Americ-
     While GM has presented evidence of fees and ex-           an Ecology cites no authority to support its contention.
penses incurred after June 18, 1999, it has also submit-       Moreover, the court in its research has found no case in
ted evidence which indicates fees and expenses were in-        which a Michigan court has held that a delay in notify-
curred in connection with the Adams litigation after July      ing an indemnitor of a claim potentially covered under
28, 1999, the date on which it settled the Adams lawsuit.      an indemnity contract results in a waiver of an indem-
The record does not clearly establish for what these ad-       nitee's rights under the contract, or estops the indemnit-
ditional fees and expenses were incurred, and does not         ee from pursuing its rights under the contract. While in-
establish whether the fees incurred after July 28, 1999        surance contracts typically include provisions requiring
are recoverable as defense costs. The court therefore          an insured to give the insurer immediate or prompt no-
concludes that general issues of material fact exists as       tice of an accident or suit, see Wendel v. Swanberg, 185




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N.W.2d 348, 352 (Mich.1971), the Agreement in this                     form within a reasonable time. Koch, 918 F.2d
case does not contain a notice provision or otherwise                  1209 n.3. In this case, the Agreement does not
specify that an indemnitee must notify the indemnitor of               impose an obligation on GM to formally re-
                                                FN9
a claim potentially covered by the Agreement.         The              quest a defense. Because GM had no contractu-
court also doubts the viability of American Ecology's                  al obligation to formally request a defense,
argument because the rationale for including a notice                  American Ecology's argument that it failed to
provision in an insurance contract does not apply in this              do so within a reasonable period of time neces-
case. Generally, an insured is required to provide its in-             sarily fails.
surer prompt notice of an accident or suit so that the in-
surer can make a timely investigation of the accident,             *11 The court finds that American Ecology had a
evaluate claims, and defend against fraudulent, invalid,       duty to indemnify GM for costs incurred in connection
or excessive claims. Id. Because these interests may be        with the Adams litigation, and that American Ecology
compromised by an insurer's untimely notice, an insurer        has not indemnified GM for those costs and expenses.
may be excused from its obligation to indemnify where          The court further finds that American Ecology, by fail-
the insurer is prejudiced by an insured's unreasonable         ing to indemnify GM for these costs and expenses has
delay. See id. at 353. Here, American Ecology, as one          breached the Agreement. Because there is no genuine
of several defendants in the underlying litigation, had        issue of material fact as to whether American Ecology
knowledge and information of the claims being asserted         breached the Agreement based on its duty to indemnify,
against GM. Moreover, American Ecology has not                 GM is entitled to judgment as a matter of law.
demonstrated that it was prejudiced by GM's delay in
                                                                    The amount to be indemnified, however, necessar-
notifying it of claims under the Agreement. American
                                                               ily depends on a determination of GM's damages. As
Ecology's argument is therefore unavailing.
                                                               discussed above, there are genuine issues of material
        FN9. American Ecology contends that GM had             fact as to the amount of damages that GM should be al-
        an implied duty to “tender its defense” within a       lowed to recover as a result of American Ecology's
        reasonable period of time, and cites Koch In-          breach of the Agreement. The court is therefore unable
        dus., Inc. v. Sun Co., Inc., 918 F.2d 1203, 1204       to conclude as a matter of law that GM is entitled to in-
             th                                                demnify for the entire amount of damages alleged in its
        (5      Cir.1990), in support of its position.
        American Ecology's reliance on Koch,                   Complaint. Thus, to the extent GM's summary judgment
        however, is misplaced, as the case is inappos-         motion seeks indemnity for the entire amount of dam-
        ite, and the contract at issue was construed ac-       ages alleged in its Complaint, the motion is denied.
        cording to Texas law, rather than Michigan
                                                               c. The Obligation to Name GM as an Additional Insured
        law. In addition, the defendant in that case ex-
                                                                   GM contends that American Ecology breached the
        pressly agreed to transfer funds to a special
                                                               Agreement by failing to name it as an additional insured
        pension plan. Knowing that the defendant
                                                               on certain insurance policies, specifically, American
        would not be able to transfer the funds immedi-
                                                               Ecology's Pollution Legal Liability policy. To prevail
        ately, the parties did not specify a date by
                                                               on its breach of contract claim, GM must establish that
        which the defendant was to perform its obliga-
                                                               1) a binding contract existed; 2) American Ecology
        tion. The court noted that although the parties
                                                               breached the contract; and 3) it suffered damages
        did not specify a precise date for the transfer of
                                                               caused by American Ecology's alleged breach. See East
        funds, the defendant could not have taken
                                                               Tex. Med. Ctr. Cancer Inst. v. Anderson, 991 S.W.2d
        forever to satisfy its obligation to transfer the
                                                               55, 62 (Tex.App.-Tyler 1998, pet. denied); Ryan v. Su-
        money. In dicta, the court, citing Texas law,
                                                               perior    Oil    Co.,     813    S.W.2d     594,     596
        stated that if a contract does not set a time for
                                                               (Tex.App.-Houston [14th Dist.] 1991, writ denied). The
        performance, the law will imply a duty to per-
                                                               court need only address the second element, as it is the




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only one in dispute.                                              and

The insurance provision of the Agreement provides:                b. Furnish certificates of insurance (Exhibit H) to GM
                                                                  and GM Business Units issuing purchase orders evid-
  10.1 Prior to the commencement of Facility's Services           encing:
  hereunder, and during the term of this Agreement,
  Contractor shall:

  a. Obtain and maintain all insurance required herein;
     Coverage                                                   Limits
    Comprehensive General                                       $5,000,000 per occurrence
    Liability including Broad Form                              combined single limit for
    Contractual Liability coverage                              Personal Injury and Property
                                                                Damage
    Automobile Liability covering                               $5,000,000 per occurrence
    all owned, hired and non-owned                              combined single limit for
    vehicles                                                    Personal Injury and Property
                                                                Damage
    Environmental Restoration                                   Statutory for transportation of
                                                                Byproducts
    Pollution Legal Liability
    - Including coverage for both                               $4,000,000 per occurrence
    Sudden and Accidental and                                   combined single limit for
    Non-Sudden Pollution                                        Personal Injury and Property
    Occurrence                                                  Damage with $8,000,000 annual
                                                                aggregate
                                                                that it did not breach the insurance provision because it
  *12 Such above-mentioned contracts of insurance               did not assume liability for the defense and settlement
  shall name GM as an “additional insured” to the ex-           costs at issue in this case. Second, it contends that it is
  tent of the liability assumed by [Gibraltar] under this       excused from having to obtain coverage under the
  Agreement and shall be primary in coverage regard-            Agreement based on its inability to have GM named as
  less of other insurance as may be available to GM. If,        an additional insured. The court is unpersuaded.
  at the time this Agreement is entered, [Gibraltar] is
  unable to have GM named as an “additional insured”                As previously noted, the court has concluded that
  to the Pollution Legal Liability policy, [Gibraltar]          the parties intended that claims for vicarious liability be
  agrees to have GM so named as soon as such treat-             included within the coverage of the Agreement. Be-
  ment becomes possible.                                        cause such claims are within the terms of the Agree-
                                                                ment, they fall within the liability assumed by American
     American Ecology contends that GM is not entitled          Ecology under the Agreement. American Ecology's ar-
to judgment as a matter of law based on a breach of the         gument that it did not intend to assume liability for
insurance provision for two reasons. First, it contends         GM's gross negligence and punitive damages is irrelev-




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ant, because liability for these damages would be ex-         Pollution Legal Liability policy, [Gibraltar] agrees to
cluded under the Agreement, and therefore not intended        have GM so named as soon as such treatment becomes
to be covered in the first instance. In any event, GM is      possible.” Section 10.1 of the Agreement. The reason-
not seeking to recover based on such damages. There-          able interpretation of this sentence is that American
fore, Plaintiff's first argument is unavailing.               Ecology would have additional time to provide the re-
                                                              quisite insurance coverage, if it were unable to have
     Regarding the second argument, American Ecology          GM named as an additional insured to the policy at the
contends that it was unable to have GM named as an ad-        time the parties entered the Agreement. Nowhere in this
ditional insured because of its insurer's refusal to add      provision does it state that Gibraltar would be excused
GM to the policy. As such, American Ecology contends          from its obligation to provide the requisite insurance if
that it is excused from performance under the Agree-          it is unable to have GM named as an additional insured
ment, and directs the court to the Affidavit of Toni Gra-     because its chosen insurance company (Zurich) does not
ham, Risk Manager for AEC. In her affidavit, Ms. Gra-                             FN10
                                                              allow the practice.        American Ecology's argument
ham states                                                    is further undermined by the express language of the
                                                              Agreement. The only provision that would relieve
  2. In my tenure as Risk Manager, AEC submitted its
                                                              American Ecology of its obligations to name GM as an
  customers to be named as additional insureds to
                                                              additional insured appears in Section 10.3. That section
  Zurich's environmental impairment liability policies
                                                              provides:
  of insurance (also known as pollution legal liability
  insurance as described in the General Motors Con-                   FN10. The court notes that in September 1995,
  tract). Zurich would not allow clients of AEC or its                Zurich issued American Ecology an Environ-
  subsidiaries to be added as additional insureds under               mental Impairment Liability policy naming
  Zurich's Environmental Impairment Policies.                         GM as an additional insured. See App. to GM's
                                                                      Mot. for Summ. J. at 98. Thus, at some time
  4. On June 12, 1997, I received a letter from our in-
                                                                      during the life of the Agreement, Zurich did
  surance brokers, Johnson & Higgins in response to an
                                                                      provide environmental liability coverage for
  inquiry I made that confirmed that Zurich would not
                                                                      additional insureds. In any event, American
  add clients as additional insureds on their Environ-
                                                                      Ecology had an obligation under the Agree-
  mental Impairment policies because it would broaden
                                                                      ment to obtain Pollution Legal Liability cover-
  the coverage of the policy to an unacceptable degree.
                                                                      age, and to have GM named as an additional
    Affidavit of Toni Graham at 1-2, attached to Amer-                insured to the policy. That American Ecology's
ican Ecology's Br. in Supp. of Joint Resp. to GM's Mot.               selected insurance company refused to add GM
for Summ. J. and the Defs.' Counter-Mot. for Summ. J.                 as an additional insured does not relieve Amer-
American Ecology further contends that Gibraltar                      ican Ecology of its obligation under the Agree-
merely agreed to “have GM named as an additional in-                  ment.
sured if Gibraltar's insurer allowed the practice.” Amer-
                                                                In the event [Gibraltar] is not required by law to ob-
ican Ecology contends that because its insurer would
                                                                tain or maintain contracts of insurance in the above
not agree to add Gibraltar's customers to its environ-
                                                                amounts or is by law permitted to self-insure for any
mental coverage, the Agreement expressly excused
                                                                of the coverages herein stated, or such coverages be-
Gibraltar from obtaining coverage. American Ecology
                                                                come commercially unavailable, [Gibraltar] may be
woefully misreads the contract.
                                                                relieved of the above obligations upon thirty (30)
     *13 As quoted above, the Agreement states that “if,        days' written notice to GM of revised insurance cov-
at the time this Agreement is entered, [Gibraltar] is un-       erages or limits, or its elections to self-insure. In the
able to have GM named as an ‘additional insured’ to the         event [Gibraltar] revises coverages or limits or de-




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  termines to self-insure hereunder, GM may elect to           time to award damages based on this breach, or render
  terminate this Agreement. GM shall make such elec-           judgment as to this claim.
  tion to [Gibraltar] within thirty (30) days of receipt of
  [Gibraltar's] notice (emphasis added).                       III. Miscellaneous
  American Ecology has wholly failed to establish that              Also before the court are American Ecology's Ob-
  it qualifies for relief under this section. American         jections to GM's Summary Judgment Evidence, filed
  Ecology has failed to present evidence establishing a        November 20, 2000. GM has also lodged objections to
  genuine issue of material fact that it had no obligation     evidence submitted by American Ecology in support of
  to obtain pollution liability coverage under the Agree-      its counter-motion for summary judgment. The court
  ment, or that its obligation was excused.                    has only considered summary judgment evidence which
                                                               meets the appropriate legal standard under Fed.R.Civ.P.
     The summary judgment evidence establishes that            56. Statements or “evidence” which merely express sub-
under the Agreement, American Ecology had an obliga-           jective beliefs, conjectures, opinions, conclusions, argu-
tion to obtain and maintain certain insurance thereun-         ments, or assumptions without an evidentiary basis have
der, including Pollution Legal Liability coverage; that        been totally disregarded by the court. Likewise, inad-
American Ecology was required to name GM as an ad-             missible hearsay and irrelevant evidence were not con-
ditional insured under its pollution legal liability policy    sidered by the court. Finally, any evidence which has
to the extent of the liability assumed by it under the         not been properly authenticated or verified as required
Agreement; that at the time GM requested American              was excluded from consideration. In sum, the court dis-
Ecology to defend it in Adams, American Ecology was            regarded “evidence” submitted by any party which was
an insured under Zurich Policy No. PLC 68-20-850-02,           not competent summary judgment evidence. Accord-
and that GM was not named as an additional insured un-         ingly, the objections lodged by all parties are overruled
der that policy. Based on this evidence, the court finds       as moot.
that American Ecology failed to name GM as an addi-
tional insured under its pollution legal liability cover-           Finally, the court did not address certain arguments
age, and therefore breached its obligations under the          or issues raised by the parties. If an argument or issue
Agreement. American Ecology has failed to establish a          was not addressed by the court, the court did not believe
genuine issue of material fact as to whether it breached       the matter to be necessary in ruling on the motions for
the Agreement based on its failure to name GM as an            summary judgment.
additional insured, and GM is entitled to judgment as a
                                                               IV. Conclusion
matter of law.
                                                               A. Dismissed Claims
     *14 GM asserts that it has incurred damages result-
ing from American Ecology's breach of the insurance                As set forth above, GM has abandoned its claim for
provision, including fees and expenses associated with         common law contribution, and its claim for common
defending the declaratory judgment action brought              law indemnity is subsumed in its claim for breach of
against it by Zurich. According to GM, it incurred             contract. GM's claims for common law contribution and
“$505,800.45 in attorneys' fees and expenses, including        common law indemnity are therefore denied as moot,
guardian ad litem fees, expert witness fees, joint coun-       and hereby dismissed with prejudice.
sel fees and fees incurred in the Zurich litigation”
(emphasis added). GM's Mot. for Summ. J. at 7. Zurich          B. Issues Remaining for Trial
did not file suit against GM until December 1999, and               For the reasons previously stated, there are no
the court is unable to ascertain which portion of the          genuine issues of material fact as to American Eco-
stated amount is attributable to “fees incurred in the         logy's liability for its breach of the Agreement. GM is
Zurich litigation.” The court is therefore unable at this      therefore entitled to judgment as a matter of law on its




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claim for breach of contract based on American Eco-              mental Services Corp.
logy's failure to defend and indemnify it (GM) in the            Not Reported in F.Supp.2d, 2001 WL 1029519
Adams litigation, and its failure to name GM as an addi-         (N.D.Tex.)
tional insured on its pollution legal liability insurance
policy. Accordingly, GM's Motion for Summary Judg-               END OF DOCUMENT
ment is granted as to liability. Although the court grants
GM's motion as to liability, there are, however, genuine
issues of material fact with respect to the amount of
damages to be allocated or apportioned for American
Ecology's breach of the Agreement. Specifically, the
court cannot determine how much of the settlement was
for claims against GM for vicarious liability, for claims
against GM for its direct negligence in the Adams litiga-
tion, for defense costs and expenses incurred by GM as
a result of defending indemnifiable claims in the Adams
litigation, and for costs and expenses incurred by GM in
defending the Zurich litigation. Accordingly, GM's Mo-
tion for Summary Judgment is denied as to damages.
Therefore, the only issues left for trial are allocation of
the settlement amount for indemnifiable claims and de-
termination of GM's defense costs and expenses. Since
the court has ruled in favor of GM on its breach of con-
tract claim, American Ecology's Counter-Motion for
Summary Judgment is denied.

C. Trial Schedule
     *15 The court has determined that it will be unable
to reach this case for trial in August. Therefore, the
court vacates the current trial setting, and hereby resets
this case on its four-week docket beginning October 1,
2001. A pretrial conference is scheduled in this case for
September 28, 2001 at 2:00 p.m. The court will provide
the parties with a more precise date regarding the trial
of this action at the pretrial conference.

      The court notes that the parties have already sub-
mitted their pretrial materials and proposed pretrial or-
der in this case; however, in light of the court's ruling
herein, the parties should be in a position to pare down
their witness and exhibit lists. The court therefore in-
structs the parties to submit amended witness and exhib-
it lists, a revised pretrial order, and revised jury instruc-
tions by September 14, 2001.

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